     Case: 1:21-cv-05386 Document #: 11 Filed: 11/19/21 Page 1 of 3 PageID #:85




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

STRIKE 3 HOLDINGS, LLC                             )
a Delaware Limited Liability Company,              )
                                                   )
               Plaintiff,                          )
                                                   )       Case No. 1:21-CV-05386
       v.                                          )
                                                   )   The Honorable Martha M. Pacold
JOHN DOE, subscriber assigned IP address           )
73.22.97.236,                                      )
                                                   )
               Defendant.                          )

                 DEFENDANT’S UNOPPOSED MOTION TO STAY
            COMPLIANCE WITH PLAINTIFF’S THIRD-PARTY SUBPOENA 1

       Now comes Defendant John Doe, subscriber assigned IP address 73.22.97.236, through

its counsel, seeking an order staying compliance with Plaintiff’s ex parte third-party subpoena to

Comcast. In support thereof, Defendant states as follows:

       1.      On October 11, 2021, Plaintiff filed its Complaint naming “John Doe, subscriber

assigned IP address 73.22.97.236” as Defendant in this action. [Doc. 1.]

       2.      On October 18, 2021, Plaintiff filed an ex parte Motion for Leave to Serve a

Third-Party Subpoena Prior to a Rule 26(f) Conference. [Doc. 7.]

       3.      On October 22, 2021, the Court granted the motion authorizing Plaintiff to serve

Comcast Cable (“Comcast”) with a subpoena. [Doc. 9.] A copy of the subpoena is attached as

Exhibit 1. The subpoena requires Comcast to produce documents identifying the name and

address of the individual who is associated with IP address 73.22.97.236 on November 26, 2021.




1
  Pursuant to this Court’s Motion Practice standing order, Defendant conferred with Plaintiff’s counsel
regarding its agreement or opposition to the instant motion. Plaintiff’s counsel agrees to the relief
requested herein, but does not agree with some of the statements in the motion, including paragraph 7.
     Case: 1:21-cv-05386 Document #: 11 Filed: 11/19/21 Page 2 of 3 PageID #:86




       4.      On or about the first week in November, Defendant received a letter from

Comcast stating that it would comply with the subpoena unless Defendant filed, by November

23, a motion directed at the subpoena.

       5.      On November 15, 2021, Defendant retained the undersigned counsel. Although

counsel has been diligently reviewing the court filings and researching legal issues, he has yet to

decide the substance of the motion(s) Defendant will file in response to the subpoena. Indeed,

because of other professional commitments and the upcoming Thanksgiving Day holiday,

counsel does not anticipate filing any motion(s) until December 3, 2021.

       6.      Thus, in order to preserve the status quo and the disclosure of Defendant’s name

and address, Defendant respectfully requests that the Court enter an order staying compliance

with the Comcast subpoena until the Court rules upon Defendant’s forthcoming motion(s).

       7.      Defendant notes that there have been numerous courts, including this one, which

have recognized the harmful effect of disclosing the identity of individuals associated with IP

addresses. See e.g., Strike 3 Holdings, LLC v. John Doe, subscriber assigned IP address

76.249.154.44, 2020 WL 6701105, at *2 (N.D. Ill. Nov. 13, 2020) (J. Aspen) (denying Plaintiff’s

ex parte Motion for Leave to Serve an Expedited Third-Party Subpoena Under Rule 45 Before

the Rule 26(f) Conference and finding that “rubber stamping motions for expedited discovery to

unveil identities behind IP addresses – when those identities do not necessarily reveal the

wrongdoer’s identity at the expense of false accusations – risks opening the flood gates to

unscrupulous litigants who wish to use the federal courts as a tool to their extortion.”)

       8.      No prejudice will come to Plaintiff if the Court grants this motion. It merely

provides Defendant with the opportunity to challenge the subpoena before Comcast discloses the

name and address associated with IP address 73.22.97.236. Defendant would have had this same
     Case: 1:21-cv-05386 Document #: 11 Filed: 11/19/21 Page 3 of 3 PageID #:87




opportunity if the undersigned counsel had sufficient time to file a motion(s) before November

23, 2021.

       9.     Accordingly, Defendant respectfully requests that the Court enter an order staying

compliance with the Comcast subpoena until the Court rules upon Defendant’s forthcoming

motion(s) which counsel intends to file no late than December 3, 2021.


                                                              Respectfully submitted,


                                                          By: _/s/ Charles Chejfec______
                                                                Attorney for Defendant


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